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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

"UNITED STATES OF AMERICA —:—sCR. NO. 3:23-CR- /257
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a . (Judge MAvwion )
FRANK TASSIELLO,
. (Filed Under Seal)
Defendant.
| FILED
INFORMATION © SCRANTON —
‘THE UNITED STATES ATTORNEY CHARGES: _ MAY 22-2023
COUNT 1 - | DEPUTY CLERK

18 U.S.C. §371
(Conspiracy to Commit Theft of Major Artwork, Concealment and |
Disposal of Major Artwork, and Interstate Transportation of Stolen
Property) .
I. Introduction —

At all times material to the Information:

1. The Defendant is a resident of the Commonwealth of

- Pennsylvania. -

2. A“museum” as defined in Title 18, United States Code,
Section 668, is an organized and permanent institution, the activities of
which affect interstate and foreign commerce, that is (a) situated in the
United States; (b) is established for an cssentially educational and
aesthetic purpose: (3) has a professional staff, and: (4) owns, utilizes, and |

cares for tangible items that are exhibited to the public on a regular
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cares for tangible items that are exhibited to the public on a regular
schedule.

3. An “object of cultural heritage,” as defined in Title 18, United
States Code, Section 668, is an object that is either over 100 years old and
worth in excess of $5,000 or that is less than 100 years old and worth at
least $100,000.

‘4. The following institutions are all situated in the United
States, have been established for essentially educational or aesthetic
purposes, have professional staffs, own, utilize, or care for tangible items
that are exhibited to the public on a regular schedule, and are “museums”
as defined in Title 18, United States, Code, Section 668:

a) The Space Farms Zoo and Museum located in Wantage, New

Jersey; (
_b) The Harvard Mineralogical & Geological Museum located in
Cambridge, Massachusetts.

5. The following items are “objects of cultural heritage,” as
defined in Title 18, United States Code, Section 668, in that they are
either over 100 years old and worth in excess of $5,000 or are less than
100 years old and worth at least $100,000:

a) Colt Model 1839 Revolving Shotgun;
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6. From in or-about August of 1999 and continuing through in or
about April of 2019, in the Middle District of Pennsylvania, the District of
New Jersey, the Southern District of New York, the District of
Massachusetts, the District of Rhode Island, and elsewhere, the
Defendant,
FRANK TASSIELLO,

did knowingly, intentionally, and unlawfully combine, conspire,
confederate, and agree with others, to commit an offense against the
United States, that is: to steal from the care, custody, and control of
various museums certain objects of cultural heritage: knowing that
certain objects of cultural heritage had been stolen or obtained by fraud, if
in fact the object had been stolen or obtained by fraud from the care,
custody, or control of a museum, received, concealed, exhibited, or
disposed of the objects, and: transported in interstate or foreign commerce
goods, wares, merchandise, securities or money, of the value of $5,000 or
more, knowing the same to have been stolen, converted, or taken by
fraud, in. violation of Title 18, United States Code, Section 668(b)(1), Title
18, United States Code, Section 668(b)(2), and Title 18, United States

Code, Section 2314.
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II. Manner and Means and Purpose of the Conspiracy
7. During the aforementioned period of the time, it was part of |
the conspiracy for the conspirators to conduct research in order to locate
collections which contained valuable pieces of artwork, antiques, sports
memorabilia, and other items, many of which constituted objects of
cultural heritage. ~ .

8. It was part of the conspiracy that the conspirators made

several trips to various institutions, many of which constituted museums,
“where the above-described objects were displayed, for the purpose of
gaining knowledge of security measures, access points, exit points, and
the physical displays of the above-described objects. The conspirators
recorded these trips for the purpose of later reviewing the above-described
security measures prior to the theft of the objects of cultural heritage.

9. It was part of the conspiracy that the conspirators visited the
museums and other repositories, broke into the museums and other
repositories, smashed or destroyed the protective display cases, and stole
and removed objects of cultural heritage.

10. It was part of the conspiracy that the conspirators would meet

‘at various pre-arranged locations to itemize, distribute, and break-down

the objects of cultural heritage between the conspirators. The ~
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. conspirators utilized three locations in particular, the residences of two
members of the conspiracy, and a bar owned and operated by a third
member of the conspiracy, all located in Lackawanna County,
Pennsylvania, within the Middle District of Pennsylvania.

11. It was part of the conspiracy: that the conspirators would strip
the objects of cultural heritage of the gemstones and other valuable
‘attachments prior to melting the objects down into easily transportable
- bars, disks, and small pieces of the valuable metals.

12. Itwas part of the conspiracy that the conspirators would
transport the above-described gemstones and valuable metals to
individuals both known and unknown in the Grand Jury, located within
New York City, in the Southern District of New York, to sell the objects
for cash.

13. It was part of the conspiracy that the conspirators would sell
objects of cultural heritage which could not be broken down, such as
antique firearms and paintings, to each other and to various individuals,
‘both known and-unknown to the United States Attorney, for cash.

14. It was part of the conspiracy that the conspirators would
transport the above-described antique firearms and paintings to other

- residences belonging to the conspirators in order to conceal the objects
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from law enforcement investigators.

Il. Overt Acts
15. In furtherance of the conspiracy and in order to effect the
objects thereof, one or more of the conspirators conimitted and caused to
be committed the following overt acts, in the Middle District of
Pennsylvania, and elsewhere:
a) Prior to August 8, 2018, Frank TASSIELLO and another
conspirator visited the Space Farms: Zoo & Museum located in
Wantage, New J ersey, to view objects of cultural heritage
displayed therein and to observe the security measures
protecting said objects. _

b). On or about August 8, 2018, Frank TASSIELLO drove another
conspirator to the Space Farms: Zoo & Museum with the
purpose of breaking into the museum and stealing and
removing objects of cultural heritage displayed therein..

c) On or about August 8, 2018, the conspirator described above in .

- subparagraph (b) entered the Space Faris: Zoo & Museum
without authorization and smashed several display cases found

therein with an axe.
d)

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f)

g)

h)

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On or about August 8, 2018, the conspirator described above in

subparagraph (b) stole and removed an object of cultural

heritage, namely a Colt Model 1839 revolving shotgun worth

~ approximately $32,500 from the Space Farms: Zoo and

Museum.
On or about August 8, 2018, Frank TASSIELLO transported

the conspirator described above in subparagraphs (b-d) and the

~ Colt Model 1839 revolving shotgun stolen from the Space

Farms: Zoo and Museum from Wantage, New J ersey, to
Lackawanna County, Pennsylvania.

On or about or after August 8, 2018, the conspirator described
above in subparagraphs (b-d) sold the Colt Model 1839
revolving shotgun stolen from the Space Farms: Zoo and
Museum, described above in subparagraph (d), to another
member of the conspiracy.

On or about September 19, 2019, the conspirator described
above in subparagraph (f) possessed the Colt Model 1839
revolving shotgun stolen from the Space Farms: Zoo and

Museum.

On or about October 11, 2018, Frank TASSIELLO drove
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another conspirator to the Basic Irish Luxury store located in

Newport, Rhode Island, with the purpose of breaking into the

store and stealing and removing items displayed for sale
therein.

On or about October 11, 2018, the conspirator described above
in subparagraph (h) entered the Basic Irish Luxury store
without authorization-and stole and removed jewelry and other
items from the store.

On or about October 11, 2018, Frank TASSIELLO transported
the conspirator described above in subparagraphs (hei) and the
items stolen from the Basic Irish Luxury store from Newport,
Rhode Island to Lackawanna County, Pennsylvania.

On or about October 11, 2018, the conspirator described above
in subparagraphs (h-i) gave Frank TASSIELLO several rings
as payment for driving the conspirator to and from the Basic

Irish Luxury store.

On or about October 11, 2018, the conspirator described above
_ in subparagraph (h-i) transported the items stolen from the _

- Basic Irish Luxury store to the residence of another

conspirator, located in Lackawanna County, Pennsylvania, to
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melt down the stolen items into easily transportable metal |

‘pieces. -

On or about October 11, 2018, the conspirator described above

in subparagraphs (h-i)'took the metal pieces described above in

subparagraph (1) to New York City where he exchanged the

“metal pieces for cash.

- Prior to April of 2019, Frank TASSIELLO created a “Hasidic”

disguise for another conspirator to wear ina planned theft

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from the Harvard Mineralogical & Geological Museum in

Cambridge, Massachusetts.
Prior to April of 2019, and while inside Frank TASSIELLO’s

residence in Lackawanna County, Pennsylvania, Frank

TASSIELLO dressed the conspirator in the “Hasidic” disguise

_ described above in subparagraph (n).

Prior to April of 2019, the conspirator described above in —
subparagraphs (ri-o) drove.to the Harvard Mineralogical &

Geological Museum with the intent to steal a mineral or

minerals displayed therein, however, upon entering the:

museum, the conspirator discovered that the mineral or
minerals were no longer on display.
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All in violation of Title 18, United States Code, Section 371.

THE UNITED STATES ATTORNEY FURTHER ALLEGES:

FORFEITURE ALLEGATION

16. The allegations contained in Count 1 of this Information are
hereby realleged and incorporated by reference for the purpose of alleging
forfeiture pursuant to Title 18, United States Code, Section 981(a)(1)(C)

and Title 28, United States Code, Section 2461(c).

17. Pursuant to Title 18, United States Code; Section 981(a)(1)(C)
and Title 28, United States Code, Section 2461(c), upon conviction of the
offenses in violation of Title 18, United States Code, Sections 371, the

defendant,

FRANK TASSIELLO, . -

shall forfeit to the United States of America, any property, real or
personal, involved in such offenses, or any property traceable to such
property, including. but not limited to:

a) Colt Model 1839 Revolving Shotgun

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Tf any of the property described above, as a result of any act or

omission of the defendant:

a.

cannot be located upon the exercise of due diligence:

has been transferred or sold to, or deposited with, a third

party;

has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

-has been commingled with other property. which cannot be ©

divided without difficulty,

the United States of America shall be entitled to forfeiture of

- ' gubstitute property pursuant to Title 21, United States Code, Section

853(p), as incorporated by Title 28, United States Code, Section 2461(c).

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All pursuant to Title 18, United States Code, Section 981(a)(1)(C)

and Title 28, United States Code, Section 2461(c).

_ GERARD M. KARAM
United States Attorney

<ILMES M. BUCHANAN

Assistant United States Attorney

Date: Muy {Jor

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